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            IN THE UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW JERSEY
                              TRENTON

 UNITED STATES OF AMERICA,                      )
                                                )
           Plaintiff,                           )   Civil No. 3:20-cv-06293
                                                )
           v.                                   )
                                                )
 JEAN DOE,                                      )
 as the executor of the estate of               )
 MURRAY MALEH                                   )
                                                )
           Defendants.                          )
                                                )

                                     COMPLAINT

      Plaintiff, the United States of America, at the request and with the

authorization of a delegate of the Secretary of the Treasury, and at the direction of

the Attorney General of the United States, brings this action to collect the civil

penalties assessed against Murray Maleh under 31 U.S.C. § 5321(a)(5)(C)(i) for

his willful failure to report his interests in foreign bank accounts for the 2011 and

2012 calendar years. In support of this action, the United States alleges as follows:

                                Jurisdiction and Venue

      1.        This Court has jurisdiction over this action under 28 U.S.C. §§ 1331,

1345, and 1355(a) because it arises under a federal statute, the United States is a

plaintiff, and the action seeks to recover civil penalties assessed under 31 U.S.C.

§ 5321(a)(5).

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       2.     Venue is proper in this district under 28 U.S.C. § 1391(b)(2)-(3),

because Maleh Murray was a resident of this district at the time of his death, the

likely executor or administrator of Maleh’s estate will reside in this district, and the

property is likely subject to collection is located in this district.

                                         Parties

       3.     Plaintiff is the United States of America.

       4.     Murray Maleh was the person against whom the IRS assessed

penalties due to his willful failure to file Foreign Bank Account Reports in the

2011 and 2012 calendar years. Maleh died on January 22, 2014, and his last

known residence was 83 Roseld Avenue, Deal, New Jersey 07723 in Monmouth

County. On information and belief, no probate estate has yet been opened for

Maleh. Upon the opening of an estate, the United States intends to amend the

complaint to name the administrator or executor of the estate as the real party in

interest.

                               Regulatory Background

       5.     Section 5314 of Title 31, United States Code, authorizes the Secretary

of the Treasury to require United States citizens (among others) to report certain

transactions with foreign financial agencies. Under one of the statute’s

implementing regulations (31 C.F.R. § 1010.350), each United States person

having a financial interest in, or signature or other authority over, a bank,


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securities, or other financial account with a balance of $10,000 or more in a foreign

country shall report such relationship to the Internal Revenue Service (“IRS”) for

each year in which such relationship exists.

      6.     For calendar years 2012 and prior, a person met this reporting

requirement by filing a Form TD F 90-22.1, Report of Foreign Bank and Financial

Accounts, commonly known as an “FBAR.”

      7.     For the years at issue, an FBAR was due no later than June 30 of the

year following the calendar year at issue with respect to foreign financial accounts

that had an aggregate value greater than $10,000. 31 C.F.R. § 1010.306(c).

      8.     Section 5321(a)(5) of Title 31, United States Code, authorizes the

imposition of civil penalties for the willful failure to comply with the reporting

requirements of § 5314. Specifically, § 5321(a)(5)(C) provides for a maximum

willfulness penalty in the amount of the greater of $100,000 or 50% of the balance

in the accounts at the time of the violation.

      9.     The penalty provided by 31 U.S.C. § 5321(a)(5)(C) is subject to

interest and further penalties under 31 U.S.C. § 3717.

 MURRAY MALEH WILLFULLY FAILED TO REPORT HIS INTEREST
           IN FOREIGN FINANCIAL ACCOUNTS

      10.    Maleh was born in the United States and remained a United States

citizen until his death.



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      11.   Maleh was a part-owner of a child apparel business (Cradle Togs,

later renamed the Children’s Apparel Network).

                             Atlas Capital Account

      12.   On information and belief, beginning sometime in the 1980s Murray

Maleh, along with his wife Linda Maleh, maintained an interest in a bank account

at Bank Safdie in Switzerland.

      13.   On or about June 9, 2006, Murray Maleh (by himself and in concert

with his agents) transferred $4,017,975 from the Malehs’ Bank Safdie account to

the Swiss bank, Atlas Capital, SA. These funds were deposited into an account

titled in the name of Wedmore Investors, SA.

      14.   Wedmore Investors SA is a non-operating Panamanian company,

whose purpose was to disguise Murray and Linda Maleh’s financial interest in the

funds described in the preceding paragraph.

      15.   Notwithstanding the transfer of funds to Wedmore Investors SA,

Murray Maleh retained an interest and actual control over such funds deposited in

the Atlas Capital, SA account.

      16.   On December 31, 2010, the balance in the Atlas Capital, SA account

was $2,126,279.04.

      17.   On December 31, 2011, the balance in the Atlas Capital, SA account

was $2,079,854.75.


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      18.    On June 14, 2012, the balance in the Atlas Capital, SA account was at

least $1,897,657.89.

      19.    On information and belief, Maleh did not transfer money out of his

Atlas Capital, SA account between June 14, 2012 and June 30, 2012.

                             Bank Hapoalim Account

      20.    In April 2009 Murray Maleh (by himself or in concert with his agents)

transferred a total of approximately €807,816.23 from Atlas Capital to a bank

account at Bank Hapoalim in Israel. On December 16, 2012, Murray Maleh

transferred a total €34,239 from Atlas Capital to the same bank account at Bank

Hapoalim. These transfers were made for the purpose of disguising Murray and

Linda Maleh’s interest of the funds.

      21.    On information and belief, the account at Bank Hapoalim referred to

in the preceding paragraph was titled in the name of a third-party who was holding

the transferred funds for the benefit of Murray Maleh and his wife. Despite the

transfer, Murray Maleh retained an interest in the funds held in the Hapoalim

account.

      22.    On information and belief, Maleh did not withdraw funds from the

account at Bank Hapoalim since making the original deposits in 2009.

Accordingly, the balance in the bank Hapoalim Account was in excess of

€807,816.23 as of June 30, 2012 and at all times thereafter.


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        23.   €807,816.23 was worth approximately $1,015,950 as of June 30,

2012.

                           Maleh’s Failure to file FBARs

        24.   Notwithstanding his interest and control over foreign financial

accounts containing more than $10,000, Maleh did not timely file FBARs or

otherwise disclose to the IRS the interest in the Swiss and Israeli bank accounts

that he held in 2011 and 2012 calendar years.

        25.   Maleh, through has Certified Public Accountant, filed federal income

tax returns (IRS Forms 1040) Schedule B every tax year between 2005 and 2010.

On each return, the Schedule B asked “At any time during [the tax year] did you

have a financial interest or signature or other authority over a financial account in a

foreign country, such as a bank account, securities account, or other financial

account?” In each case, the response to this question on Maleh’s schedule B was

“No.”

        26.   Maleh, through has Certified Public Accountant, filed federal income

tax returns (IRS Forms 1040) Schedule B for the 2011 tax year. Although Maleh

acknowledged an interest in a foreign account by checking the box “Yes” on the

2011 Schedule B, his subsequently filed FBARs did not list either his interest in

the account with Atlas Capital or Bank Hapoalim. Instead, his FBAR listed only an

account in Canada.


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      27.       Maleh willfully failed to file complete and accurate FBARs for the

2011 and 2012 calendar years; alternatively, given his resources and his financial

sophistication, Maleh knew or clearly ought to have known that there was a grave

risk that he was not complying with his reporting obligations, and he could have

found out for certain very easily.

                       JUDGMENT FOR CIVIL PENALTIES
                            (31 U.S.C. § 5321(a)(5))

      28.       The United States incorporates paragraphs 1 through 26 as if fully set

forth herein.

      29.       On May 8, 2018, a delegate of the Secretary of the Treasury issued a

notice of a proposed assessments for the willful failure to file complete and

accurate FBARs for the 2011 and 2012 calendar years (IRS Letter 3709). The letter

was sent to Maleh’s purported representatives.

      30.       On May 25, 2018, a delegate of the Secretary of the Treasury assessed

civil penalties against Defendant Maleh under 31 U.S.C. § 5321(a)(5) for his

willful failure to timely file FBARs in connection with his accounts at Atlas

Capital and Bank Hapoalim. These assessments included:

                a.   $1,063,140 arising from his failure to file an FBAR for the 2011

      calendar year for his interest in account XX2632 at Atlas Capital in

      Switzerland;



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                b.   $327,955 arising from his failure to file an FBAR for the 2011

      calendar year for his interest in his nominee’s account at Bank Hapoalim, in

      Israel.

                c.   $100,000 arising from his failure to file an FBAR for the 2012

      calendar year for his interest in account XX2632 at Atlas Capital in

      Switzerland; and

                d.   $100,000 arising from his failure to file an FBAR for the 2012

      calendar year for his interest in his nominee’s account at Bank Hapoalim, in

      Israel.

      31.       On June 1, 2018, a delegate of the Secretary of the Treasury sent

notice (Letter 3708) of the May 25, 2018 assessments to Maleh’s purported

representatives and demanded payment of the assessments. The letter advised

Maleh’s purported representatives of their post-assessment right to have the

assessments reviewed by IRS Office of Appeals.

      32.       On June 7, 2018 and June 27, 2018, the IRS received duplicate written

protests from Mr. Maleh’s purported counsel requesting that the I.R.S. reverse its

determination of FBAR penalties and requesting a conference with the IRS Office

of Appeals.

      33.       The IRS Office of Appeals ultimately determined that the protest was

not valid.


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       34.    Despite notice and demand for payment, Maleh (or his estate, if one

exists) have failed to fully pay the penalties assessed against him.

       35.    Interest and penalties have accrued and will continue to accrue on the

penalties described in paragraph 18 above pursuant to 31 U.S.C. § 3717 until they

are paid in full.

       36.    As of May 21, 2020, Defendant Maleh is indebted to the United States

with respect to the assessments described in paragraph 29 above in the amount of

$1,812,932.88, plus statutory interest that continues to accrue thereafter as

provided by law.

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      WHEREFORE, the United States asks that the Court:

      A.     Find that Maleh willfully failed to file complete and accurate FBARs

for the 2011 and 2012 calendar years as required by law;

      B.     Award the United States judgment against the estate of Murray Maleh

in the amount of the FBAR penalties assessed against Maleh totaling

$1,812,932.88, except to the extent those amounts exceed the statutory maximum

under 31 U.S.C. § 5321(a)(5)(C) if so determined by the Court in accordance with

law, plus interest and additional penalties as allowed by law from May 21, 2020, to

the date of payment;

      C.     Award to the United States its costs of prosecuting this action; and

      D.     Grant such other and further relief as the Court deems just and

equitable.

Date: May 22, 2018

                                       RICHARD E. ZUCKERMAN
                                       Principal Deputy Assistant Attorney General

                                       /s/ RJ Hagerman
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